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TAB 17
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Lesli Paoletti HIGHLY CONFIDENTIAL November 30, 2005
Cleveland, OH
1 |
Docket No. X07 : SUPERIOR COURT
CV-XX-XXXXXXX-S(CLD) : COMPLEX LITIGATION
STATE OF CONNECTICUT, : DOCKET AT TOLLAND °
Plaintiff,
VS.

DEY, INC., ET AL.,
:
Defendants. : :

Deposition of

LESLI PAOLETTI

November 30, 2005 /

9:22 a.m.

Taken at:

Vorys, Sater, Seymour and Pease
1375 East Ninth Street, Suite 2100 :
:

Cleveland, Ohio

Ff

:

Grace M. Hilpert, RPR

Henderson Legal Services
(202) 220-4158
Lesli Paoletti

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Cleveland, OH

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a

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Oo OAK YH

14

Q. What is your understanding of the
benefit to Roxane for participating in a particular
wholesalers source program?

A. I would consider it the same as working
with the GPO contract or a warehousing chain
contract.

Q. So what are those benefits to Roxane for
those types of contracts?

A. IfI don't have my product on that
contract, they're going to sell somebody else's.

Q. How long were you in this position as
assistant manager of multisource products?

A. Until January of 2002.

Q. And then in January of 2002 did you get
a new title?

A. Idid.

Q. What was that?

A. Product manager.

Q. Was that still in the marketing

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ond Dd

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16

A. I would complete the portion that showed
the results and then she would complete the grade,
the rating, so to speak, and add her comments.

Q. Who would complete the objectives
section?

A. Usually I-took a swag at it, and then we
would sit down together and agree on the objectives.

Q. As to pricing, making recommendations on
pricing, which you did during this time period as
assistant manager in the multisource products, in
the marketing department, you mentioned that one of
the prices that you would make recommendations for
is AWP.

If you were to make a recommendation as
to an AWP price change, what kind of approval
process would follow?

MR. COVAL: Objection. Form.

A. Do you mean the people, what do you mean
by approval?

for her assessment? .

EY ASSESSES ESE EULER EE SRS DE ELUNE DD EAMETS ER EUR EE

20 department? 120 Q. Ifyou made a determination that there
21 A. Yes. 21. needed to be a change for AWP, was there then an
22 Q. And how long did you maintain that 22 approval process that followed?
15 17

1 position? 1 A. Yes. :

2 A. Until September -- roughly September 2 Q. What was that approval process?

3 2003. 3 A. Thad to obtain signatures from members

4 Q. And so for the time period that you were 4 of several different departments prior to

5 an assistant manager to multisource products, which 5 implementing the change.

6 was the summer of 1998 through January of 2002, were | 6 Q. What signatures would you have to

7 you reporting directly to Judy Waterer? 7 receive?

8 A. Yes, 8 A. It changed over time. Typically it was

9 Q. And also during that same time period, 9 Judy. There would have been somebody from finance
10 would Judy Waterer perform the reviews that you 10 on the routing, there would have been, in some
11 would go through as to performance? 11 cases, somebody from contracts on the routing. For
12 A. Yes. 12 a period of time I believe the VP of sales and
13 Q. How often would those reviews take 13 marketing was on there, and for a period of time Tom
14 place? 14 Russillo was on there, the CEO -- or COO. I'm
15 A. At least annually. Periodically there 15 sorry.
16 were reviews during the year. 16 Q. During this time period of the '98
17 Q. Did your annual reviews occur at the end 17 through 2002 period, was there a written policy or
18 of the year? 18 procedure as to how to proceed with a price change?
19 A. Usually during the fourth quarter. 19 A. You would have to narrow down the time
20 Q. So for these annual reviews, would you 20 frame because during soine of that, no, and during
21 actually fill out the review and present it to Judy 21 some of that, yes.
22

Q. Do you recall a time when a formal

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increase which would bump up against A WP, when you

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18 20 |,
1 procedure was implemented? 1 say a price increase, what kind of price increase
2 A. Idon't remember the year. There was a 2 are you referring to is my question?
3 committee, the PTC committee, that worked to define | 3 A. It might be a product where our costs
4 the procedure. That was probably, I'm going to 4 have increased, so I have to increase our price to
5 guess 2000, give or take a year. 5 the customer.
6 Q. And this PTC committee worked to put 6 Q. I'm sorry.“ Go ahead:
7 together a formal procedure as to how price changes 7 A. That might affect AWP. That would be :
8 would be recommended and then approved? 8 one example. :
9 MR. COVAL: Objection. Form. 9 Q. With respect to the price that's being :
10 A. That was one of the objectives of the 10 increased, is ita WAC that's being increased or a :
11. committee. 11 direct price that's being increased or is it in i
12 Q. What does PTC stand for? 12 theory more than one price that's being increased? :
13 A. I think it was pricing terms and 13 A. Ifit were -- if we're referring back to :
14 contracting. 14 my example and it was a cost increase, then the :
15 Q. Were you on that committee? 15 price to the customer would increase, the price to :
16 A. Yes. 16 the wholesaler, the WAC price would increase, and in :
17 Q. Was Judy Waterer on that committee? 17 some cases the AWP might increase as well.
18 A. No. 18 Q. You switched to product manager position L
19 Q. Who else was on that committee, if you 19 or title in January of 2002, and you remained in
20 recall? 20 that position through September of 2003, correct?
21 A. There were probably 15 or 20 people. 21 A. Yes.
22 It was -- there were people from BI, the 22 Q. And did you still have responsibility :
19 21
1 parent company, the brand side, our team. 1 for recommending pricing in that position? :
2 Q. Was someone from contracts on that 2 A. Yes.
3 committee? 3 Q. What other responsibilities did you have
4 A. You know, I don't remember. 4 in that position?
5 Q. Again, specifically as to AWP, was there 5 A. Same responsibilities as I had before.
6 a formal process that you followed to make a 6 Talso had a direct report.
7 determination whether a price change for AWP for a 7 Q. What does that mean when you say, I had
8 particular product was required? 8 responsibilities for direct report?
9 A. Procedure to determine whether one was 9 A. Ihada direct report. I was
10 required, no. 10 supervising an assistant product manager.
11 Q. Generally speaking, how would you become 11 Q. Sonow you had someone else working
12 aware of the need to make a price change with 12 underneath you, correct?
13 respect to AWP? 13 A. Yes.
14 A. I would have to set AWP or make a 14 Q. Who was that person? :
15 recommendation to set AWP for a new launch product. | 15 A. Melissa Hadrys. |
16 IfI was doing a price increase and the pricing 16 Q. What was Melissa doing, as far as her
17 would bump up against AWP, then I would need to 17 job responsibilities?
18 raise AWP or -- gosh, it really just depends on the 18 A. She took on some of the forecasting :
19 situation. , 19 responsibilities, she worked on some of the day-to- :
20 Q. In that second example that you talked 20 day issues that I had been addressing with regard to :
21 about where there would potentially be a price 21. back orders or packaging changes, things like that. |

Q.

I have a question back on the example we

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46 48
1 Q. Would you speak with them generally ona | 1 would you be the one at Roxane that would notify the
2 weekly basis or more often than that? 2 pricing compendia services?
3 MR. COVAL: Objection to form. 3 MR. COVAL: Objection. Form.
4 A. Individuals, groups? 4 A. It depends on the time frame.
5 Q. Let me ask you this, how often would you | 5 Q. Let's go from the time period from the
6 speak with the national account managers? 6 summer of '98, which is when you took the position
7 A. Together or individually? 7 of assistant manager of multisource products, and I
8 Q. Individually. 8 think you had responsibility for recommending
9 A. Individually I would probably speak to 9 pricing at that point.
10 one or more of them a couple times a week. 10 So from that period forward, were you
11 Q. Were there any communications that you | 11 the one that would contact the pricing compendia
12 would have with the sales force that were about a 12 services to make them aware of an A WP price change? ||,
13 particular topic and were on a regular basis? 13 MR. COVAL: Objection. Form. :
14 MR. COVAL: Objection. Form. 14 A. Not during that entire time frame, no.
15 Q. For example, did you have a weekly call 15 Q. Were there any times when you were the
16 with particular sales representatives about a 16 one that was directly reporting to these pricing
17 particular topic? 17 compendia price changes?
18 A. Not usually. For a period of time -- 18 MR. COVAL: Objection. Form.
19 for a period of time when Karen Strelau was there, | 19 A. I currently report AWP pricing to the
20 she did weekly updates with her sales team and 20 compendia, not just changes, which don't happen very
21. occasionally I would sit in on the call to see if 21 often. New launch products would be an example.
22 there were issues that they were concerned about. _ | 22 Q. How far back have you had that L
47 49 |
1. I think it was primarily during the time 1 responsibility?
2 when we had extremely high back orders, and there 2 A. Since the time that Rich Feldman left.
3 were a lot of calls or questions about supply. 3 I'm thinking that was around 2000, 2001
4 Q. What time period are we talking about 4 maybe, since he left Roxane.
‘5 when Karen Strelau was doing that? 5 Q. So when Richard Feldman left Roxane,
6 A. . Probably around 2002 or 2003. 6 then this reporting responsibility as to AWP then
7 Q. Do you know if others in the marketing 7 switched to you; is that correct?
8 department had a similar amount of communication 8 A. Yes.
9 with the sales force? 9 Q. So prior to that responsibility
10 A. I don't know. 10 switching to you, is it your understanding that
11 Q. And then on a totally different topic, 11 Richard Feldman had that responsibility?
12 asto AWP price changes, we discussed those earlier, 12 A. Forat least a period of time.
13 when an AWP price change would be made and it would | 13 Q. And what is your understanding of what
14 be approved and processed through Roxane, was it 14 entities or companies make up the pricing compendia
15 then reported to the various reporting agencies, 15. services?
16 meaning like First Data Bank, Red Book, and 16 A. I'm not sure how it got the term pricing
17 MediSpan? . 17 compendia. We more refer to it now as the compendia
18 MR. COVAL: Objection. Form. 18 because we have got not just First Data Bank,
19 A. On occasions where we would change AWP, 19 MediSpan, Red Book, those were the primary three
20 which was very infrequent, we would notify several 20 over the last -- over -- well, when Rich was there
21 of the compendia of the change, yes. 21 and on through, but we have also added now Script
Q. And when there was an AWP price change, 22

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50 52
1 companies that I'm not sure exactly their purpose, 1 A. I recall a situation with Florida
2 other than they provide information about products. 2 Medicaid. The details of how it came about I'm not :
3 They don't just provide pricing about 3 real clear on. :
4 products. They provide -- some of them provide 4 Q. Do you recall if that situation was /
5 photos to the pharmacist so they can see the tablet. 5 resolved? :
6 It's not just pricing. 6 A. Youknow, I don't revall if it was |
7 I would consider the compendia any of 7 resolved. I recall that we tried to resalve it. :
8 those third-party services that I report product 8 MR. GOLDENBERG: We'll go through some :
9 information to. 9 documents right now. :
10 Q. Is it your understanding that AWP is 10 «eee :
11 utilized by some state Medicaid programs as a basis j{ 11 (Thereupon, Plaintiffs Deposition E
12 to establish reimbursement rates for dispensing 12 Exhibit Paoletti 001 was marked for
13 pharmaceuticals? 13 purposes of identification.)
14 MR. COVAL: Objection. Form. 14000 = eee :
15 A. Thave learned that in some cases they 15 Q. Lesli, just so you know what I will do
16 use that number, yes, as part of a calculation. 16 is some of these have a lot of pages to them.
17 Q. You said "that number." Are you 17 You're free to read every word in as much detail as
18 referring to AWP when you say "that number"? 18 you want on each page, but what I will do is direct
19 A. Yes. 19 you to a particular portion of each of these
20 Q. Do you have any understanding as to how 20 documents, and then we'll go through that particular
21 AWP is used by state Medicaid programs to establish | 21 portion. You can have as much time as you want to
22 reimbursement rates? 22 read that particular portion if you want.
51 53
1 A. No. 1 A. Okay. :
2 Q. Have you attended any seminars or other 2 Q. Which will help facilitate the process. :
3 programs where state Medicaid reimbursement was the | 3 Like I said, you can review it in as |
4 topic? 4 much detail as you want.
5 A. Any seminars, no. 5 MR. COVAL: Let's go off for one second.
6 Q. Have you attended any meetings at Roxane 6 (Discussion off the record.) :
7 where state Medicaid reimbursement was an issue? 7 MR. GOLDENBERG: For the people on the . |
8 A. No. 8 phone, this is performance worksheet for the year :
9 Q. Do you recall a situation with the 9 2000. /
10 Florida Medicaid program where a customer who 10 It's Lesli Paoletti's performance :
11 dispenses Roxane's products complained to Roxane 11 review, and the reviewer is Judy Waterer. The Bates |
12 about reimbursement rates that he was receiving from | 12 numbers are ROXCT0073007 through 73014. |
13. the Florida Medicaid program? 13 Q. Lesli, did you finish your review of :
14 A. Irecall that there was an issue with 14 this? :
15 Florida Medicaid. I don't recall whether it was a 15 A. I finished skimming it.
16 customer or patient or salesperson or who brought it 16 Q. What is this document? :
17 to our attention or who even complained about it. 17 A. It appears to be my 2000 performance
18 Q. Do you recall who at Roxane was involved 18 review. :
19 with that particular issue? 19 Q. And prior to today and without :
20 A. I don't. 20 disclosing any privileged communications with :
21 Q. Do you recall if you were involved at 21 counsel, when do you last recall seeing this
22 all? : 22 document? :

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86 88
1 A. No. 1 A. "Please note."
2 Q. Was it at the request of Ed Tupa? 2 Q. "Please note that only those customers
3 A. I don't recall. 3 with an existing new source ABC agreement containing :
4 Q. You don't recall? 4 one or more of these products will be notified of
5 A. No. 5 the changes."
6 Q. What does the initials NAM KAR stand 6 ‘What's your understanding of what an
7 for, if you know? 7 existing new source ABC agreement is?
8 A. National account manager and key account | 8 A. I'm--I don't know. - All I can tell you
2 representative. That's how we typically used them. 9 is what it says.
10 Tassume that's the way they meant it in this 10 Q. Do you know what ABC stands for?
11 document. 11 A. It, I believe, referred to the source A
12 Q. Ifyou flip to the first page of this 12 pricing, source B pricing, source C pricing.
13 chart that says at the very top, "NAM KAR 13 Q. You're referring to the letters at the
14 confidential pricing"? 14 top of the chart in the shaded gray ~-
15 A. Yes. 15 A. Yes. |
16 Q. And then the columns that you couldread | 16 Q. -- section? |
17 or kind of make out is the "Source program pricing," | 17 A. Yes. They're easier to see on page 3.
18 do you see that? 18 Q. What is your understanding of what those /
19 A. Yes. 19 letters represent, A, B, and C?
20 Q. Source program pricing, is that 20 A. It's three different levels of pricing. !
21 referring to what we talked about earlier as a 21 Q. Do you know how that works, how someone :
22 wholesaler source program, where -- 22 attains a different level of the pricing?
87 89 |,
1 A. I'm not sure what it refers to in this 1 A. I don't.
2 document. 2 MR. GOLDENBERG: Do you need a break or
3 Q. With respect to source programs in 3 anything?
4 general that Roxane tried to participate in or 4 MR. COVAL: Yes.
5 participated in, was there a general pricing +5 MR. GOLDENBERG: Why don't we come back
6 _ structure that was utilized regardless of the source 6 and go for a little bit more and then take a lunch
7 program? 7 break.
8 A. I'm not sure what you mean. 8 MR. COVAL: That's fine.
9 MR. COVAL: Objection to form. 9 (Recess had.)
10 Q. Did Roxane have set prices that it was 100 = -----
11. willing to offer on its products for source 11 (Thereupon, Plaintiff's Deposition
12 programs? 12 Exhibit Paoletti 004 was marked for
13 A. When I -- back in '98, when I started 13 purposes of identification.)
14 this position, I understood very little about the 14 see
15 business or about the internal workings of the sales | 15 MR. GOLDENBERG: For the people on the
16 and the marketing. 16 phone, this is Bates numbered ROXCT0049577 through
17 So at the time that this would have been 17 49581.
18 going on I'm not sure exactly who got those prices, | 18 It's a cover sheet for approval on
19 ifthey were standard. It's hard for me to really 19 pricing changes dated March 25th, 2000, and then
20 speak to that. 20 attached is a list of products with pricing
21 Q. You see the bold part of your first 21 information.
22 paragraph on the E-mail, it starts with -- 22 Q.  Lesli, have you finished reviewing this?

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90 92 /
1 A. Yes. 1 tell when this was created? :
2 Q._ What is this? 2 A. No. /
3 A. This is a pricing recommendation that 3 Q. Can you tell when this was routed :
4 was routed for approval. 4 approximately? :
5 Q. Ifyou look at the front page, it says, 5 A. I can tell when the approval routing |
6 “Please route ASAP and return to Lesli Paoletti," do | 6 template that says, "Urgent approval required /
7 you see that? 7 pricing," that would have been the date that we s
8 A. Yes. 8 printed that document off. :
9 Q. What was your role that you played with 9 I couldn't say for sure that's the date :
10 respect to this pricing change? 10 we prepared the documents behind it or even began :
11 A. I put together the recommendation and 11. the routing of it. :
12 then routed it for signatures. 12 Q. So the printing date would have been :
13 Q._ As part of that recommendation, would 13 March 25, 2003; is that right? :
14 you have put together this chart? 14 A. The print date of the top copy, the :
15 A. Yes, I did. 15 cover sheet would have been that date. :
16 Q. And prior to today, when do you last 16 Q. What did you call this front sheet, you :
17 recall seeing this document, other than privileged 17 had a particular name for it?
18 communications with your counsel? 18 A. I just called it the approval routing |
19 A. Probably within the last year. 19 cover sheet. :
20 Q. And would this have been prepared by you | 20 Q. Let me ask you this, do you recall what :
21 in the regular course of your business activity at 21 necessitated this price change? :
22 Roxane? 22 A. _ This one, there were a couple factors. :
91 93 |.
1 A. Yes. 1 One being that we had costs that :
2 MR. COVAL: When you say that, are you 2 increased on many of the products, and then the :
3 talking about the whole document or the routing 3 other would be that we had sole source and sole
4 page? 4 generic products that we had not taken price
5 MR. GOLDENBERG: The entire document. 5 increases on, and we had the opportunity to take :
6 MR. COVAL: Is your answer the same? 6 price increases. :
7 Q. Does that impact your answer? 7 Q. Let's take a look at the first page of
8 A. Well, I guess I assumed what you meant 8 the chart, which is Bates numbered 49578. If you :
9 was, as part of my job, did I do this. 9 would go to the Furosemide oral solution, all the |
10 Q. Correct. 10 way to the left on the "Brief generic product :
11 A. Yes, I did. Do I do price 11 description column," do you see that? :
12 recommendations regularly? I do price 12 A. Yes. /
13 recommendations when an instance comes about that we | 13 Q. There's two Furosemide oral solutions :
14 would do a price recommendation. I don't do these 14 listed there, and I'm focusing on the top one, which |
15 weekly or anything like that. 15 has a partial NDC number, the last two numbers of :
16 Q. Then it was part of your job 16 which are 63, do you see that one? |
17 responsibilities and duties to put something like 17 A. Yes.
18 this together, correct? 18 Q. And the strength is 40 milligrams, 5ml, |}.
19 MR. COVAL: Objection. Form. 19 packaging is 500 ml.
20 A. Ifit needed to be done, then typically, 20 The current AWP is listed at $36.74; is
21 yes, it would be my responsibility to do that. 21 that right?

Q. Based on your review of this, can you

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SSE EE RS A RSE RODE eS RE TE

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A. The current AWP is listed as $

36.74.

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138 140 I
1 telling me is because of the way senior management 1 Q. Did you play a role in the relaunching :
2 wanted this priced, there was a different launching 2 of CCP? :
3 strategy that was utilized for this product; is that 3 A. I'm sure J had some responsibilities for /
4 right? 4. implementation. |
5 A. Yes. 5 Q. Did you play a role in the repricing of :
6 Q. Was it referred to as a brand launch 6 CCP fortherelaunch? ~ :
7 strategy at any point? 7 A. You know, I'm not sure. At the time I |
8 A. Youknow, I don't remember. 8 was doing most of the -- putting together most of :
9 Q. When you were referring to upper level 9 the documents, so I probably played some role in it. |}
10 management, new upper level management, was that new | 10 I don't recall without seeing the documents. :
11 upper level management at Roxane? 11 Q. Do you recall Judy Waterer playing a /
12 A. Late '90s, early 2000 we began reporting 12. role in the relaunch of CCP? :
13 tothe COO of Ben Venue Laboratories, kind of took 13 A. I believe that she did.
14 over all of the multisource divisions, Roxane, and 14 Q. Do you know what the distinction was
15 he had the injectable Ben Venue. 15 between her role and your role?
16 So he kind of oversaw the sales and 16 A. I think for this launch J primarily did
17 marketing of both of those companies, and he came in 17 document preparation. She did more strategy.
18 with experience from a different side of the 18 Q. And would that also have applied, would
19 business. It wasn't retail side, and they just 19 that distinction have also applied to the relaunch
20 didn't understand the way the retail side works, 20 of CCP?
21. that it's different. 21 A. Youknow, I'm not sure.
22 Q. The new management that you were 22 MR. GOLDENBERG: Let's take alookat |
139 141 |
1 referring to in your explanation is Ben Venue 1 this next exhibit. This is a one-page series of E- :
2 management; is that right? 2 mails Bates numbered ROXCT0051213. It's concerning :
3 A. Judy reported to -- he was VP of 3 Furosemide. :
4 marketing, Tony Pera, and Tom Russillo, who were 4 THE WITNESS: Okay. /
5 management at Ben Venue Laboratories as well. They | 5 Q. In that bottom E-mail it's from Robert /
6 just changed the reporting structure for the sales 6 Sykora to Judy Waterer, and you're cc'd on that. :
7 and marketing. , 7 It's dated April 14th, 2000, do you see that? :
8 Q. Was CCP the first product launched under 8 A. Yes. :
9 that new organization? 9 Q. And in his E-mail Bob Sykora indicates :
10 A. Yes. I think it was. At the very least 10 that, “Anthony approached Caremark about Furosemide
11 it would have been the first sole source or sole 11 when he heard that they were dissatisfied with their :
12 generic product. It may not have been the first 12 current supplier." And he goes on to say that, :
13 product launch, but it was the first product where 13 "Janet Miller of Caremark said she would like to /
14 we were the only generic on the market. 14 give us our business except our AWP was far too low :
15 --+--- 15 for it to be profitable for them. Anthony did some !
16 (Thereupon, Plaintiffs Deposition 16 research and found out the following," and there's a
17 Exhibit Paoletti 009 was marked for 17 chart there, do you see that? ‘
18 purposes of identification.) 18 A. Yes. :
19 ----- 19 Q. Roxane's AWP is listed on that chart at :
20 Q. Before we go to this exhibit, do you 20 $45.25 for Furosemide, 40 milligram, 1,000, do you /
21. recall whether CCP was relaunched at a later date? 21. see that? :
22 A. It was. 22. «AL Yes. :
ae

SEER ARAN PEIRCE NSE TEETER OEE PE

SEEN PEE NDLALUA EETSD sUBDOE REDE SUCRE eo OEE OE SS TEESE CHEE PSS EER ge CES aN MRE EO

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142 144 |,
1 Q. And Mylan's Furosemide, 40 milligram, lL ee eee
2 1000, the AWP is listed at $151.90, do you see that? | 2 (Thereupon, Plaintiffs Deposition
3 A. Yes. 3 Exhibit Paoletti 010 and
4 Q. And then at the top of this is an E-mail 4 Exhibit Paoletti 011 were marked for
5 from Judy Waterer to you dated April 17th, about 5 purposes of identification.)
6 three days later, and she asks you to query the 6 = ---e- . -
7 database to get AWPs of competitors and then put 7 MR. GOLDENBERG: Exhibit Paoletti 010 is
8 together AWP price increase recommendation. 8 aone-page E-mail, a couple of E-mails, Bates numbered
9 First, let me ask you, did you follow up 9 ROXCT0051127, and it's concerning Furosemide AWP
10 and do what Judy was requesting of you in this E- 10 adjustment.
11° mail? 11 And then the next exhibit is Bates
12 A. I believe I did. 12 numbered ROXCT0051341 through 51350, and that is an
13 Q. What database did you utilize? 13 E-mail with attachment to it, which is the
14 A. It would have been MediSpan. 14 Furosemide sales justification for an upward
15 Q. Do you recall ifthe AWPs that you got 15 adjustment in AWP.
16 from MediSpan were the same as the AWPs that are | 16 THE WITNESS: Okay.
17 referenced in-Robert Sykora's E-mail? 17 Q. Actually, let's take a look at the
18 A. You know, I can't be sure, but it's my 18 second exhibit first, which is marked as Exhibit
19 recollection that they were -- that these were not 19 Paoletti 011. The first E-mail on Bates number 51341
20 correct, that some of these were not correct. 20 is from Judy Waterer to you, and she's forwarding to |
21 Q. Do you remember which ones were not? 21 you the sales justification that she received from /
22 A. I don't off the top of my head. 22 Robert Sykora. :
143 145
1 Q. And then did you put together an AWP 1 Do you recall reviewing this sales
2 price increase recommendation in response to Judy 2 justification?
3  Waterer’s April 17th E-mail? 3 A. Yes.
4 A. Yes. - 4 Q. Did you put any parts of that sales
5 Q. How soon after this E-mail, which is 5 justification together?
6 April 17th, 2000, did you put that recommendation 6 A. You asked if I compiled any of this?
7 together? 7 Q. Right.
8 A. You know, I'm not sure. 8 A. No. I don't believe I did.
9 Q. Was it months later? 9 Q. Did you put together any part of the
10 A. You know, I couldn't be sure. 10 written first two pages of the sales justification?
il Q. Did you just put one recommendation 11 A. Did I put together the first two pages?
12 together or do you remember just doing it once, let 12 Q. Any part of it.
13 me put it that way? 13 A. No. I don't believe I did.
14 A. You know, I don't remember. 14 Q. Do you recall seeing any other sales
15 Q. She says in the third line of her E-mail 15 justifications for upper adjustment in AWP for other
16 to you, "Forward to me, I'll run it past Tom. 16 products when you were at Roxane?
17 Hopefully we can implement this quickly," do you see | 17 A. Sales justifications?
18 that? 18 Q. Yes. For an upper adjustment in AWP for
19 A. Yes, 13 any other product while you were at Roxane?
20 Q. Do you know who that reference to Tom 20 A. I'm not sure what you mean by sales
21. is, who's Tom? 21 justifications. E
A. I believe it was Tom Russillo. 22 Q. Like a document similar to what is there !

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I think Steve Snyder, Anthony Tavalarro.

ESE SAREE RNS SS EE EE CEE EE SL SEES OE

Lesli Paoletti HIGHLY CONFIDENTIAL November 30, 2005
Cleveland, OH
146 148 |
1 with Exhibit Paoletti 011, where the reasons are 1 I'm not sure of the rest of them. :
2 provided in a written document as to why AWP should [| 2 Q. And then above your E-mail, it looks :
3 bein this case moved up? 3 like it's a response back to you from Richard
4 MR. COVAL: Objection. Form. 4 Feldman, Wednesday, August 9th, 2000 at 6:41 p.m., /
5 A. As you saw in the previous price 5 do you see that? /
°6 increase document that we looked at, we would 6 A. Yes. ° ° :
7 typically try to put assumptions and calculations. 7 Q. And he says, "I would prefer not to :
8 If you're asking if this type of 8 release actual price to NAMs until just before we :
9 multiple-page document or research on AWPs for 9 get it out to pricing service and customer. :
10 competitors, no. This is the only one that I can 10 Otherwise the customer may call the pricing service, ;
11° recall. 11 and we have not yet communicated to them." :
12 MR. GOLDENBERG: We're finished with 12 Did I read that correctly? :
13 those. 13 A. I believe you did. :
14 MR. COVAL: 11 or both? 14 Q. So the process, according to this, is :
15 MR. GOLDENBERG: Both. 15 that the AWP price increase would get final approval
16  ----- 16 from Roxane, and then as part of the implementation
17 (Thereupon, Plaintiff's Deposition 17 following that approval, it would then be reported
18 Exhibit Paoletti 012 was marked 18 to the pricing compendia, is that your understanding
19 for purposes of identification.) 19 of how it was supposed to work?
20 ----- 20 MR. COVAL: Objection. Form.
21 _ MR. GOLDENBERG: Exhibit Paoletti 012, for | 21 A. You know, I think -- I couldn't speak to
22 the people on the phone, is a couple of E-mails Bates 22 this specific price change. I don't know exactly Q
147 149 |
1 numbered ROXCTO051151. 1 what order we decided it would be in and the timing
2 THE WITNESS: Okay. 2 of everything.
3 Q. At the bottom of this is an E-mail from 3 Q. Was there any type of meeting that you
4 you to Rich Feldman dated August 9th, 2000, and it 4 recall that occurred that you attended where the
5 concerns Furosemide AWP change notification to 5 plan for launching or trying to gain additional
6 NAMs/letter for approval, do you see that? 6 Furosemide business as a result of the AWP price
7 A. Yes. 7 increase, do you recall a meeting like that
8 Q. In your first sentence you say, "I have 8 occurring?
9 begun receiving requests from the field regarding 9 MR. COVAL: Objection. Form.
10 the new AWP pricing for Furosemide." 10 A. Not that I recall.
11 Did I read that correctly? 11 MR. GOLDENBERG: I think that's it for :
12 A. Yes. 12. that. :
13 Q. From whom were you receiving requests 1300 --e-- /
14 regarding the new AWP pricing for Furosemide? 14 (Thereupon, Plaintiff's Deposition :
15 A. You know, I don't recall specifically, 15 Exhibit Paoletti 013 was marked :
16 but typically when I said the field, I would say it 16 for purposes of identification.) :
17 to mean the national account managers. 17 0 eee : :
18 Q. At this time do you recall who some of 18 MR. GOLDENBERG: This is Exhibit Paoletti
19 those national account managers were? When I say at | 19 013, and it is a two-pager. :
20 this time, I mean the 2000 time period when this 20 The first is an E-mail from Judy Waterer :
21 Furosemide AWP change occurred, 21 to Lesli, and the second page is an attachment to :
22. 22 :
a

that E-mail, which appears to be something called a

eA 0 AD ED SS CO REET ED EDS DDI oP OT RES MSE EET IR

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